
684 S.E.2d 890 (2009)
INSULATION SYSTEMS, INC.
v.
James FISHER.
No. 279P09.
Supreme Court of North Carolina.
October 8, 2009.
Richard A. Manger, High Point, for James Fisher.
Brooks F. Bossong, Greensboro, for Insulation Systems, Inc.
Prior report: ___ N.C.App. ___, 678 S.E.2d 357.

ORDER
Upon consideration of the petition filed on the 7th of July 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of October 2009."
